    8:15-cb-00004-TDT        Doc # 22    Filed: 05/12/15     Page 1 of 1 - Page ID # 38




                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA



UNITED STATES OF AMERICA,
                                                  Case Number: 8:15CB4
                      Plaintiff,
                                                  Violation Number: 3159286 NE6
                                                                    3159287 NE6
       vs.
                                                                    3159288 NE6

ISAAC R. WILLS,
                                                                   ORDER
                      Defendant.


              On the motion of the United States Attorney=s Office, the above-referenced matter

is hereby dismissed without prejudice.


              ORDERED this 12th day of May, 2015.


                                           BY THE COURT:


                                           s/ Thomas D. Thalken
                                           United States Magistrate Judge
